     Case 2:14-cr-00014-LGW-BWC Document 358 Filed 09/27/16 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

United States of America                )
                                        )Case No. CR 214-14
V.
                                        )



Larry James Carter, et a].              )

                                ORDER


      The above captioned case filed in the Brunswick Division of
this Court currently being assigned to the Honorable Magistrate

Judge James E. Graham,
      It is hereby ORDERED that this case be reassigned to the
Honorable Magistrate Judge G. R. Smith.


      SO ORDERED, this     '7/1 day of Septemb4t1    2016.




                                  Lisa\9dbey Wood, Chief Judge
                                  United States District Judge
                                  Southern District of Georgia
